
212 Ga. 146 (1956)
91 S.E.2d 12
DAWSON
v.
HOSPITAL AUTHORITY OF CITY OF AUGUSTA et al.
19167.
Supreme Court of Georgia.
Submitted November 14, 1955.
Decided January 9, 1956.
Henry G. Howard, for plaintiff in error.
Powell, Goldstein, Frazer &amp; Murphy, E. D. Fulcher, Fulcher, Fulcher &amp; Hagler, J. Winston Huff, contra.
HEAD, Justice.
1. The Hospital Authority Act of 1941 (Ga. L. 1941, p. 250; Code, Ann., Ch. 99-15), as amended by the act of 1955 (Ga. L. 1955, p. 618), provides for the issuance, sale, and redemption of revenue-anticipation certificates. See Ga. L. 1937, p. 761, as amended (Code, Ann. Supp., Ch. 87-8).
2. The petition alleges the issuance and publication of notice of the validation proceedings. "A statute complies with constitutional provisions as to due process where it provides for notice and hearing as a matter of right, either in express terms, or . . . by necessary implication." Robitzsch v. State of Ga., 189 Ga. 637 (7 S. E. 2d 387). The validation proceedings were not void as being in violation of the due-process clause of the Fourteenth Amendment to the Constitution of the United States.
3. A judgment validating revenue certificates, unless excepted to within the time provided by law, is conclusive upon all questions made, or that might have been made, prior to the judgment of validation, including the constitutionality of the statute under which the proceedings are had. Gibbs v. City of Social Circle, 191 Ga. 422 (12 S. E. 2d 335). In the present case the judgment validating the certificates was entered on August 22, 1955; the petition attacking the judgment of validation was filed on September 29, 1955. The trial judge did not err, therefore, in sustaining the general demurrers and dismissing the petition.
Judgment affirmed. All the Justices concur.
